

Matter of Fitzgerald (2023 NY Slip Op 03534)





Matter of Fitzgerald


2023 NY Slip Op 03534


Decided on June 29, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 29, 2023

PM-133-23
[*1]In the Matter of Michael Lee Fitzgerald, an Attorney. (Attorney Registration No. 5320171.)

Calendar Date:June 26, 2023

Before:Garry, P.J., Clark, Pritzker, Ceresia and McShan, JJ.

Michael Lee Fitzgerald, Sharon, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Michael Lee Fitzgerald was admitted to practice by this Court in 2015 and lists an address in Sharon, Massachusetts with the Office of Court Administration. Fitzgerald now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Fitzgerald's application.
Upon reading Fitzgerald's affidavit sworn to May 3, 2023 and filed May 5, 2023, and upon reading the June 21, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Fitzgerald is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Pritzker, Ceresia and McShan, JJ., concur.
ORDERED that Michael Lee Fitzgerald's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Michael Lee Fitzgerald's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Michael Lee Fitzgerald is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Fitzgerald is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Michael Lee Fitzgerald shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








